                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA,                           )
STATE OF NORTH CAROLINA,                            )
STATE OF CALIFORNIA,                                )
STATE OF COLORADO,                                  )
STATE OF CONNECTICUT,                               )
STATE OF MINNESOTA,                                 )
STATE OF OREGON,                                    )
STATE OF TENNESSEE, and                             )
STATE OF WASHINGTON,                                )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )              1:24CV710
                                                    )
REALPAGE, INC.,                                     )
                                                    )
                      Defendant.                    )


                                             ORDER

       This matter is before the Court on an Unopposed Motion for Leave for Plaintiff States

of California, Colorado, Connecticut, Minnesota, Oregon, Tennessee, and Washington

(“Plaintiff States”) to Enter Notices of Special Appearance Without Association of Local

Counsel. (Docket Entry 8.) Counsel for Defendant consents to Plaintiff States’ Motion. The

Court has reviewed the Motion and based on the information and representations made

therein, the Court will allow the request at this time, except that the issue may be revisited if

needed during the progress of this action.

       IT IS HEREBY ORDERED that the Unopposed Motion for Leave (Docket Entry 8)

is GRANTED, and that Plaintiff States are permitted to file Notices of Special Appearance in




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this case, under Local Rule 83.1(d), without association of local counsel.

       SO ORDERED. This the 17th day of September, 2024.



                                                       /s/ Joe L. Webster
                                                   United States Magistrate Judge




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